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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


CITIZENS FOR CLEAN ENERGY et al.          )
                                          )
     and                                  )
                                          )               CV 17-30-BMM
THE NORTHERN CHEYENNE TRIBE,              )
                                          )
          Plaintiffs,                     )
     v.                                   )               ORDER
                                          )
UNITED STATES DEPARTMENT OF THE           )
INTERIOR et al.,                          )
                                          )
          Federal Defendants,             )
                                          )
     and                                  )
                                          )
THE STATE OF WYOMING,                     )
                                          )
          Defendant-Intervenor            )
                                          )
_________________________________________ )
                                          )


      Before the Court is a joint motion of the parties, filed May 31, 2017,

requesting an order consolidating civil action number CV 17-42-BMM with this case

and setting a single case management schedule for both actions. The Court has

reviewed the parties’ proposals and hereby enters the following order:
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    1. For good cause shown, State of California et al. v. Zinke et al., No. CV

       17-42-BMM (D. Mont., filed May 9, 2011), is hereby consolidated with

       this action, No. CV 17-30-BMM (D. Mont., filed Mar. 29, 2017), for

       purposes of briefing and argument, with this action designated as the lead

       case, to which all filings shall henceforth be made.

    2. Federal Defendants shall file an answer to the complaint by July 18,

       2017. Intervenor the State of Wyoming shall file an answer to the

       complaint by July 25, 2017. This same deadline shall apply to any

       additional intervenors who are granted party status by the Court.

    3. In regard to the administrative record of the agency action challenged in

       this case, the following schedule shall apply:

       Deadline for Federal Defendants to
       serve the administrative record on
       the parties                                      August 11, 2017

       Deadline for any motions to
       supplement or complete the record                September 22, 2017

       Deadline for Federal Defendants to
       lodge the administrative record with
       the Court and, if it has been revised, to
       serve the revised record on the parties          September 29, 2017

    4. The following schedule and word limits shall apply to summary

       judgment briefing:


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     Opening Brief of Plaintiffs in
     CV-17-30 (9,000 words)                      October 20, 2017

     Opening Brief of Plaintiffs in
     CV-17-42 (9,000 words)                      October 20, 2017

     Federal Defendants’ Cross-Motion
     and Opposition Brief (12,000 words)         November 17, 2017

     Intervenor-Defendant State of
     Wyoming’s Cross-Motion
     and Opposition Brief, in which
     prospective Intervenor-Movant State
     of Montana may join if granted party
     status (7,000 words)                        November 29, 2017

     Prospective Intervenor-Movant National
     Mining Association’s Cross-Motion
     and Opposition Brief, if granted party
     status (7,000 words)                        November 29, 2017

     Opposition and Reply Brief of Plaintiff
     in CV-17-30 (8,000 words)                  December 13, 2017

     Opposition and Reply Brief of Plaintiffs
     in CV-17-42 (8,000 words)                  December 13, 2017

     Federal Defendants’ Reply
     Brief (7,000 words)                        January 12, 2018

     Intervenor-Defendant State of
     Wyoming’s Reply Brief, in which
     prospective Intervenor-Movant State
     of Montana may join if granted party
     status (4,000 words)                       January 19, 2018

     Prospective Intervenor-Movant National
     Mining Association’s Reply Brief, if
     granted party status (4,000 words)          January 19, 2018
                                      3

 
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    5. Because this case calls for review of agency action based on an

       administrative record, see 5 U.S.C. § 706, the parties are hereby relieved

       of the obligation, set forth in local rule 56.1(a) and (b), of filing

       Statements of Undisputed Facts and Statements of Disputed Facts in

       conjunction with summary judgment briefing. Instead, the parties shall

       provide appropriate factual background in their respective briefs and

       shall do so within the word limits authorized above.

    6. Plaintiffs in civil action CV 17-30-BMM and Plaintiffs in civil action CV

       17-42-BMM will each be permitted separate time for argument at any

       hearings. Likewise, Federal Defendants, Defendant-Intervenor State of

       Wyoming, and any additional intervenors who are granted party status by

       the Court, will each be permitted separate time for argument at any

       hearings.

    DATED this 2nd day of June, 2017.




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